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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 American Library Association, et al.,

                        Plaintiffs,

                v.                                    Case No. 1:25-cv-01050

 Keith Sonderling, et al.,

                        Defendants.



          PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER

       Pursuant to Local Civil Rule 65.1(a), Plaintiffs American Library Association and

American Federation of State, County, and Municipal Employees, AFL-CIO hereby move for a

narrow temporary restraining order prohibiting Defendants from further pausing, canceling, or

otherwise terminating Institute of Museum and Library Services (IMLS) grants or contracts or

failing to disburse funds to recipients according to such grants or contracts for reasons other than

the grantees’ or contractors’ non-compliance with applicable grant or contract terms. This narrow

injunctive relief is necessary to protect Plaintiffs’ members until the Court issues a ruling on

Plaintiffs’ pending motion for a preliminary injunction (ECF 13). In the alternative, Plaintiffs

respectfully request that the Court grant their motion for a preliminary injunction within seven

days. Counsel for Plaintiffs has conferred with counsel for the Defendants as required by Local

Civil Rule 7(m). Defendants oppose this motion. A proposed order is attached.

       As set forth in Plaintiffs’ briefs and declarations in support of their motion for a preliminary

injunction and in the accompanying memorandum, Defendants’ actions violate the Constitution

and the Administrative Procedure Act and are ultra vires. Defendants’ unlawful actions have
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already harmed Plaintiffs and their members. In the absence of temporary injunctive relief,

Plaintiffs’ members face imminent and irreparable harm.

       Pursuant to Local Civil Rule 65.1(a), copies of all pleadings and papers filed in the action

to date and to be presented to the Court at a hearing have been furnished to Defendants via this

Court’s Electronic Court Filing System. At 2:48 PM on June 2, 2025, counsel for Plaintiffs emailed

counsel for Defendants, Heidy Gonzalez and Julia Alexandra Heiman, to provide actual notice that

Plaintiffs would file a motion for a temporary restraining order. At 3:49 PM on June 2, 2025,

Counsel for Defendants informed counsel for Plaintiffs that Defendants oppose the motion.

Immediately prior to making this application to the Court, Plaintiffs provided electronic copies of

the motion for temporary restraining order, and accompanying brief and proposed order via e-mail

before completing this electronic filing.




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                                      *Pro hac vice application pending




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